 Case 22-00145-NGH            Doc 23   Filed 05/24/22 Entered 05/24/22 14:36:42         Desc
                                           Page 1 of 1



Timothy R. Kurtz, ISB No. 8774
CHAPTER 7 BANKRUPTCY TRUSTEE
P.O. Box 956
Boise, ID 83701
Telephone (208) 287-8125
Facsimile (208) 287-8130


                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO

In Re:
                                                   Case No. 22-00145-NGH
Christensen, Chad James                            Chapter 7
Christensen, Katherine Hill
                                                   MINUTES OF 341(a) MEETING OF
                      Debtors.                     CREDITORS


Date of Meeting: 05/19/2022, 09:00 AM

Location of Meeting: Boise, Idaho

Recorder Track No.: 14

   1. Debtors were sworn and examined.

   2. Debtors’ attorney was present.

   3. Debtors’ identifications were verified.

   4. Debtors’ social security numbers were verified.

   5. The following creditors and/or parties in interest appeared at the meeting: Counsel

Lynnette Davis on behalf of Creditor Alexander Abel; Steve Cilley and Jessie Day Cilley.

   6. The meeting was continued to 06/15/2022 at 10:00 am MT.

Date: May 24, 2022                                /s/ Timothy R. Kurtz
                                                  Chapter 7 Bankruptcy Trustee
